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                 Exhibit 2
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                                 THIRD PARTY SUBPOENAS SERVED

                             Name of Entity                Level
                             Acer America Corporation      Manufacturer
                             Amazon.com                    Retailer
                             AOC                           Manufacturer
                             Apple                         Manufacturer
                             Arrow Electronics             Retailer
                             BenQ USA Corp.                Distributor
                             Best Buy Co., Inc.            Retailer
                             Buy.com                       Retailer
                             CDW Corp.                     Manufacturer
                             Circuit City                  Retailer
                             Costco                        Retailer
                             CTX Technology                Distributor
                             Dell, Inc.                    Manufacturer
                             Envision Peripherals          Retailer
                             Five Rivers Electronics       Manufacturer
                             Fourstari Group               Distributor
                             Fry's Electronics             Retailer
                             Funai Corporation, Inc.       Manufacturer
                             Gateway, Inc.                 Manufacturer
                             Hewlett Packard, Inc.         Manufacturer
                             IBM Corporation               Manufacturer
                             Iiyama North America, Inc.    Distributor
                             Ingram Micro Inc.             Distributor
                             Meijer, Inc.                  Retailer
                             NEC Display Solutions of      Manufacturer
                             A   i
                             Newegg.com                    Retailer
                             Nexgen Mediatech USA, Inc.    Distributor
                             NowDirect.com                 Retailer
                             Office Depot                  Retailer
                             OfficeMax, Inc.               Retailer
                             One Diamond Electronics       Retailer
                             PC Connection                 Retailer
                             PC Mall                       Retailer

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                             Name of Entity                  Level
                             Proview Technology, Inc.        Manufacturer
                             RadioShack Corp.                Retailer
                             Sam's Club                      Retailer
                             Sanyo North America Corp.       Manufacturer
                             Sharp Electronics Corporation   Manufacturer
                             Sony Corporation of American    Manufacturer
                             Sony Electronics, Inc.          Retailer
                             Staples                         Retailer
                             Target                          Retailer
                             SYNAP                           Distributor
                             TCL-Thomson Technologies, Inc. Manufacturer
                             Tech Data Corp.                 Distributor
                             Tech Depot                      Retailer
                             UTI Technology, Inc.            Manufacturer
                             Video Display Corporation       Distributor
                             Wal-Mart Stores, Inc.           Retailer
                             Zenith Corp.                    Manufacturer
                             Zones                           Distributor




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